     Case 1:08-cr-00356-WSD-ECS Document 1034 Filed 08/30/16 Page 1 of 6




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 UNITED STATES OF AMERICA,
       v.                                           1:08-cr-00356-WSD-2
 GUSTAVO LOPEZ,
                    Defendant.

                             OPINION AND ORDER

      This matter is before the Court on Defendant Gustavo Lopez’s Motion to

Compel the Government to Honor Plea Agreement [1025].

I.    BACKGROUND

      On August 18, 2009, Defendant pled guilty, pursuant to a plea agreement, to

Conspiracy to Possess Marijuana with Intent to Distribute, in violation of 21

U.S.C. § 846, and Conspiracy to Commit Money Laundering, in violation of 18

U.S.C. § 1956(h). (See [492]). The plea agreement into which Defendant entered

contained a cooperation provision. (Id.). In it, the Government agreed (i) to file a

motion for a sentence reduction pursuant to Section 5K1.1, if the Defendant’s

cooperation was concluded by the date of sentencing; or (ii) to file a motion

pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure, if the

cooperation was completed after sentencing. Defendant agreed: “the Government

determines [whether Defendant’s] cooperation qualifies as ‘substantial assistance’”
      Case 1:08-cr-00356-WSD-ECS Document 1034 Filed 08/30/16 Page 2 of 6




under Section 5K1.1 or Rule 35. ([492.1] at 7-9). Defendant further agreed:

“Defendant understands that the determination as to whether Defendant provided

‘substantial assistance’ rests solely with the Government.” (Id. at 9). Finally,

Defendant agreed: “If the Defendant . . . engages in additional criminal conduct or

other conduct inconsistent with cooperation, Defendant will not be entitled to any

consideration whatsoever pursuant to this [cooperation] paragraph.” (Id.).

       Defendant now moves to compel the Government to file a Rule 35 motion

for sentence reduction based on Defendant’s claimed cooperation. Defendant

claims the Government has operated in bad faith and has breached the plea

agreement by failing to file a Rule 35 motion.

II.    DISCUSSION

       Rule 35(b) of the Federal Rules of Criminal Procedure provides:

       (1) Upon the government’s motion made more than one year after
       sentencing, the court may reduce a sentence if the defendant’s
       substantial assistance involved
          (A) information not known to the defendant until one year or more
          after sentencing;
          (B) information provided by the defendant to the government
          within one year of sentencing, but which did not become useful to
          the government until more than one year after sentencing; or
          (C) information the usefulness of which could not reasonably have
          been anticipated by the defendant until more than one year after
          sentencing and which was promptly provided to the government
          after its usefulness was reasonable apparent to the defendant.

Fed. R. Crim. P. 35(b). It is well-settled that Rule 35(b) gives the Government the

                                         2
       Case 1:08-cr-00356-WSD-ECS Document 1034 Filed 08/30/16 Page 3 of 6




power, but not the duty, to file a Rule 35(b) motion when a defendant has

substantially assisted. Wade v. United States, 504 U.S. 181, 185 (1992). While it is

within the prosecutor’s discretion whether to file a Rule 35(b) motion for sentence

reduction, “federal district courts have authority to review a prosecutor’s refusal to

file a substantial-assistance motion and to grant a remedy if they find that the refusal

was based on an unconstitutional motive.” Id. at 185-86. “Thus, a defendant would

be entitled to relief if a prosecutor refused to file a substantial-assistance motion,

say, because of the defendant’s race or religion” or some other constitutionally

impermissible reason. Id. at 186. The Wade court said further:

        It follows that a claim that a defendant merely provided substantial
        assistance will not entitle a defendant to a remedy or even to
        discovery or an evidentiary hearing. Nor would additional but
        generalized allegations of improper motive.

Id. The Government may base its decision to decline to move for a reduction on

“its rational assessment of the cost and benefit that would flow from moving” even

where there was some assistance given. Id. at 187. See also United States

v. Brown, 321 F.2d 347, 354 (2d. Cir. 2003); United States v. Holman, 168 F.3d

665 (3d Cir. 1999).

III.    ANALYSIS

        Defendant does not allege any cognizable ground to show he is entitled to a

departure motion or to challenge the Government’s decision not to make it.

                                           3
    Case 1:08-cr-00356-WSD-ECS Document 1034 Filed 08/30/16 Page 4 of 6




Defendant generally states he provided assistance by submitting to interviews and

providing information about the location of a stash house and the “whereabouts” of

individuals. He summarily states his cooperation resulted in the conviction and

sentencing of some co-defendants and the forfeiture of assets. He does not provide

any specific information about the defendants or forfeiture amounts. He

concludes: “Giving fair consideration to these factors, and deference to the

prosecutor’s assessment, the Court must agree that Mr. Lopez provided substantial

assistance.” (Mot. at 2).1 The Government’s failure to file a motion under Rule

35(b), he argues, “constitutes prosecutorial misconduct for refusing in bad faith to

file said motion, as promised in the plea agreement.” (Id. at 3). The Court

disagrees that Defendant is entitled to a remedy.

      In our circuit, whether the Government wrongfully has refused to file a Rule

35(b) motion requires a showing that the Government’s refusal was

constitutionally impermissible. That is, the refusal had to be because of, say,

Defendant’s race or religion. Put another way, the refusal to file for a sentence

reduction must have been for some reason that was unconstitutional. Defendant

does not allege any unconstitutional basis for the refusal to file the motion, only

that he cooperated and the government acted in bad faith in finding that his

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 Defendant also claims he provided information of “others” who were not
prosecuted.

                                          4
    Case 1:08-cr-00356-WSD-ECS Document 1034 Filed 08/30/16 Page 5 of 6




cooperation did not constitute substantial assistance and did not support a sentence

reduction.

      To the extent Defendant relies on United States v. Isaac, 141 F.3d 477

(3d Cir. 1998), to support that the Government breached their agreement, our

circuit has declined to follow the reasoning in Isaac. See United States v. Scott,

184 F. App’x 916, 918 n.1 (11th Cir. 2006). In our circuit, in evaluating whether

the Government wrongfully refused to file a Rule 35(b) motion, the test is, was the

decision not to file based on constitutionally impermissible grounds. See id.

Defendant here does not claim a constitutionally impermissible reason for not

filing. He simply disagrees with the decision not to file the motion based on his

belief that he cooperated sufficiently.

      The Government also is allowed to conduct a rational assessment of the cost

and benefit that would flow from a sentence reduction under Rule 35(b). Here, the

Defendant does not acknowledge that in 2012, the Government advised that there

was evidence Defendant engaged in conversations about proposed criminal activity

which were intercepted on phones he used in the facility where he was

incarcerated. Continuing criminal conduct erodes the usefulness of a cooperator’s

information and adversely affects his credibility generally and at trial specifically.

A principal reason here that a Rule 35(b) motion was not filed was Defendant’s


                                           5
      Case 1:08-cr-00356-WSD-ECS Document 1034 Filed 08/30/16 Page 6 of 6




continuing involvement in the trafficking of drugs. This conduct was precisely the

kind of conduct Defendant knew, when he signed his plea agreement, could

preclude a Rule 35(b) motion from being filed. ([491.1] at 9).

IV.    CONCLUSION

       Defendant has not provided a basis to contest the Government’s decision not

to file a motion for sentence reduction. He fails to show the decision was based on

a constitutionally impermissible reason and does not show the decision violated

any term of the agreement or that the refusal was based on grounds other those

allowed by the agreement. There simply is no basis upon which to give Defendant

a remedy here based on the Government’s decision not to move for his sentence to

be reduced. Accordingly,

       IT IS HEREBY ORDERED that Defendant’s Motion to Compel the

Government to Honor Plea Agreement [1025] is DENIED.



       SO ORDERED this 30th day of August, 2016.




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